CaSe 1-16-45645-nh| DOC 137 Filed 10/24/17 Entered 10/24/17 14237203

UNITED STATES BANKRUPTCY COURT

SOUTHERN DISTRICT OF NEW YORK

--~ X Case No. l6-45645-nhl
IN RE:

 

BOYSIN RALPH LOR_ICK,
CYNTHIA THERESA LORICK. Chapter 11
Debtors
~~~~~~ -- X

 

NOTICE OF SUBSTITUTION OF COUNSEL ON BEHALF OF THE DEBTORS
BOYSIN RALPH LORICK AND CYNTHIA THERESA LORICK

PLEASE TAKE NOTICE THAT, Kararnvir Daliiya of the law firm of Dahiya Law Offices,
LLC shall be substituted in place ofNorma Ortiz, Esq. and the firm of Ortiz & Ortiz, LLP in the
above referenced bankruptcy matter and that all future pleadings and all other papers Shall be

served upon Karamvir Dahiya, Esq. at the address indicated below.

Dahiya Law Offices, LLC
75 Maiden Lane Suite 506
New York NY 10038
Tel: 212 766 8000
Fax: 212 766 8001
karam@legalpundit.com

Respectfully Submitted this 24day of October, 2017. Attached is the Notice of Stipulation of

Substitution Signed by the debtors and the counselsl
(%@

Karamvir DB'}'Ia/for the debtors

 

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UNI`I`ED S'I`ATES BANKRUPTCY COUR'I`

EAS'I`ERN DISTRIC'I’ OF NEW YOR_K
X Case No. 16-45 645-nhl

lN RE'.
Boysin Raiph Lorick,
C§mthja Theresa Lorick, Chapter 11

Debtors_
X

NOTICE OF STIPULATION FOR SUBSTITU”HON OF COUNSEL
IT IS HEREBY STIPULATED that, going forward, the law firm of Dahiya Law
OB`ioes,' LLC Will be substituting for, and replacing Ortiz & Ortiz, LLP as counsel of
record for the debtors_, Boy`sin Rzzlph Lori`ek and Cynthia Th'eresa Lorick, in this Chapter
11 proceeding and that Orriz & Orn'z, LLP shall no longer represent nor have any
responsibility to represent the debtors in this matter. l

Respectfuliy Sut)miued,

Dahi- La' § ,LL_
ya wO ces C \O//‘D/,w‘_z;

 
      

2-72 Steim ay Street aiden L e Suite 506

   

 

Suite 402 ' New York NY 10033
Aston'a, N'Y 11103 Tel: 212 766 8000
Tel: 713 522 1117 1 Fax: 212 766 8001
Fa>c: 718 596 1302 En_iail:
K/M %¢afi’/V?
./ Boysin Ralph Lorick

%)‘1 ~' % .9/¢»24/) /)g

C§ntliia Theresa I_.oriok

L`d db§?l?OLL 8513_0

 

 

 

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Notiee to:

Nazar Khodorovsky

Eastern District of NY (Brook|yn Office)
U.S. Federaf Office Bui|ding

201 Varick Street

Suite 1006

New York, NY 10014

212-510-0500 x 238

212-668-2255 (fax)
nazar.khodorovskv@usdoi.gov

|Vlarilyn IVlacron P.C.

211 Beach 134th Street

Be|le Harbor, NY 11694
917~741-5370
marilyn@mari|ynmacron.com

RichardJ IV|cCord

Certilman Ba!in Ac||er & Hyman
90 I\/|errick Avenue

East |V|eadow, NY 11554

(516) 296~7801
(516)296-7111(fax)
rmccord@certi|manba|in.com

Norma E Ortiz

Ortiz & Ortiz LLP

32-72 Steinway Street
Suite 402

Astoria, NY 11103

(718) 522-1117

(718) 596-1302 (fax)
emai|@ortizandortiz.com

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Robert W. Griswo|d

Shapiro, DiCaro & Barai<, LLC

One Huntington Quadrangle, Suite 3N05
I\/lelvil|e, NY 11747

631-844-9611

631-844-9525 (fax)

rgriswo|d@iogs.com

Synchrony Bank c/o PRA Receivab|es Nlanagement, LLC
PO BOX 41021

Norfo|k, VA 23541

(877) 829-8298

(757) 351-3257 (fa><)

claims@recoverycorp.com

Colin M Bernardino

Ki|patrick Townsend & Stockton LLP
1100 Peachtree Street

Suite 2800

At|anta, GA 30309

404-532-6949

404-815-6500 (fax)
cbernardino@kilpatricktownsend.com

 

Case 1-16-45645-nh|

Dahiya Law Offices, LLC
75 Maiden Lane Suite 506
New York NY 10038

Tel: 212 766 8000

Fax: 212 766 8001

karam@legalpundit.com

Karamvir Dahiya, Esq.
(proposed counsel for the debtors)

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

 

______ __X
IN RE:
BOYSIN RALPH LORICK,
CYNTHIA THERESA LORICK.
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Case No. 16-45645-nhl

Chapter ll

CERTIFICATION OF SERVICE
OF NOTICE OF SUBSTITUTION OF COUNSEL ON BEHALF OF THE DEBTORS
BOYSIN RALPH LORICK AND CYNTHIA THERESA LORICK

On October 24, 2017, the undersigned Via emailed Served a copy of the Notice of Substitution of
Counsel along With the stipulation as signed on the parties reflected in the list. Service list in

Exhibit A. in the manner indicatedl

Dated: New York NY
October 24, 2017

 

/s/ s tr
' aramvir Dahiya for the debtors

 

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Notice to:

Nazar Khodorovsky

Eastern Dlstrict of NY (Brook|yn Office)
U.S. Federal Of'fice Bui|ding

201 Va rick Street

Suite 1006

New Yor|<, NY 10014

212-510-0500 x 238

212-668-2255 (fax)
nazar.khodorovskv@usdoi.gov

|V|ari|yn N|acron P.C.

211 Beach 134th Street

Bei|e Harbor, NY 11694
917-741-5370
mari|yn@marilynmacron.com

Richard 1 |V|cCord

Certi|man Ba|in Ad|er & Hyman
90 Merrick Avenue

East l\/|eadow, NY 11554

(516) 296-7801

(516) 296~7111 (fax)
rmccord@certilmanbatin.com

Norma E Ortiz

Ortiz & Ortiz LLP

32-72 Steinway Street
Suite 402

Astoria, NY 11103

(718) 522~1117

(718) 596-1302 (fax)
emai!@ortizandortiz.com

Robert W. Griswo|d
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One Huntington Quadrangle, Suite 3N05
l\/|e|Vi||e, NY 11747

631-844~9611

631-344-9525 (fax)

rgriswold@|ogs.com

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Kilpatric|< Townsend & Stockton LLP
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Suite 2800

At|anta, GA 30309

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cbernardino@kilpatricktownsend.com

 

 

